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                     EXHIBIT 8
   “Respondents’ Motion to Dismiss
Arbitration for Complainant’s Failure to
Meet Conditions Precedent to the Filing
  of Arbitration and for the Award of
     Contractual Attorney’s Fees”
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-
                                   BEFORE A.D.R. SERVICES, INC.
                                     CLARK COUNTY, NEVADA


    AMA MULTIMEDIA, LLC
    a Nevada limited liability company,                                       Case No.:
                                                                               15-4579
         Complainant,

    v.

    BORJAN SOLUTIONS, S.L. d/b/a
    SERVIPORNO,
    a Spanish company; and
    BOJAN MERA URRESARAZU,
    an individual,

         Respondents.


         RESPONDENTS' MOTION TO DISMISS ARBITRATION FOR COMPLAINANT'S
             FAILURE TO MEET CONDITIONS PRECEDENT TO THE FILING OF
                       ARBITRA TION AND FOR THE AWARD OF
                         CONTRACTUAL ATTORNEY'S FEES

             Reading Complainant    AMA Multimedia. LLC's ("AMA") Complaint, one might be

    tempted to believe that the Complainant    (and its counsel) are simply ignorant: ignorant of the

    terms of the settlement agreement that it entered into with the Respondents,       ignorant of the

    effects of settlement agreements generally. ignorant of the entirety of the body of case law

    governing the Digital Millennium Copyright Act ("DMCA");           and ignorant of how takedowns of

    allegedly infringing materials are accomplished    in practice.   In reality. however, neither the

    Complainant    nor its counsel are ignorant in the least: AMA is a sophisticated    litigant and its

    counsel amongst the most experienced      in this area of law in the country.

             Once ignorance is eliminated as a possibility. however. only bad faith remains.       And.

    truly. no other explanation exists for AMA"s Complaint - which is so legally and factually

    deficient (and, in places, facially absurd) - that it could only have been brought as part of a
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,1"-   _-




            deliberate attempt to drive up Respondents'             legal costs, in the hope that the Respondents          would

            pay money to settle the case, rather than fight frivolous litigation.              It is conduct that mandates not

            only the immediate dismissal of AMA's Complaint (for failure to meet conditions precedent to

            the filing of this arbitration), but also an award of attorney's fees, pursuant to the terms of the

            Parties' Settlement Agreement.          In support of this Motion, the Respondents             state as follows.

                                                      FACTUAL BACKGROUND

                     Although the Complainant          spends the first half of its Complaint recounting events which

            - even if they had been accurately portrayed, which the Respondents                   dispute - predate the

            parties' Settlement Agreement and Release and are, therefore, irrelevant to any claims which

            AMA might hope to pursue in arbitration.            I   In reality, the relevant facts and allegations are

            relatively straightforward      and constrained.

                     In April of 2013, AMA sent the Respondents a demand letter alleging various violations

            of AMA"s intellectual property.          Although the Respondents          denied (and deny) liability for such

            infringement     and denied (and deny) that there was personal jurisdiction              over them in the courts

            of the United States, in August of 2013, AMA and the Respondents entered into a Settlement

            Agreement and Mutual Release (the "Settlement                   Agreement")   so as to avoid litigation and the

            attendant costs involved with such litigation.i           A copy of the Settlement Agreement is attached

            hereto as Exhibit] .

                     In entering into the Agreement.         the Parties sought not only to resolve AMA's existing

            claims of infringement, but also, among other things, to explicitly: (a) put in place a


            I It is no secret why the Complainant   dedicates ,0 much space to irrelevant allegations: it hopes to deflect attention
            from the deficiencies of its actual claims. and its inahility to point to any conduct by the Respondents that actually
            violates the terms of the Settlement Agreement entered into by the Parties.
            2 The Settlement    Agreement's Recitals state as much: "Respondents have denied liability for the infringement
            claims. and have asserted that the courts of the United State, lack personal jurisdiction over the foreign website
            operation ....    However, the Parties desire to achieve a speedy resolution of the Claims without incurring the burden
            and expense of formal litigation." Settlement Agreement, p. I.

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comprehensive      system whereby AMA could ensure the swift takedown of materials posted to the

Respondents'     websites which AMA believed to be infringing, and (b) impose strict limitations

on AMA's ability to assert legal claims for infringement    against the Respondents   in the future.

           With respect to the takedown of allegedly infringing materials, the Settlement Agreement

required the Respondents     to create:

           a specific web form for use by [AMA d/b/a] PoroPros for the purpose of
           identifying allegedly infringing links on the Websites to materials owned by
           PornPros (hereinafter the "Porn Pros Removal Form") which will allow PornPros
           to fill in hyperlinks and submit any Website URL it believes to be infringing on
           its copyrights. Submission of one or more links on the Porn Pros Removal Form
           will then automatically result in the content being removed from the subject
           website within twenty-four (24) hours of submission of a link to material
           appearing on one or more of the Websites ....  PornPros may use formal DMCA
           notices in lieu of this procedure, if deemed necessary, proper, or desirable, but
           should not use both this method and formal DMC A notices for the same link.

Settlement Agreement. 91 3.1.

           As required by the Agreement.   the Respondents promptly created the Porn Pros Removal

Form. See Affidavit of Borjan Mera Urrestarazu ("Urrestarazu       Affidavit"), 1[ 4. In the two years

since the Respondents created the Porn Pros Removal Form, AMA has never once submitted a

single URLfor removal with that specialized tool. Urrestarazu Affidavit, 1[ 5. During that same

time period. AMA (or its agent) has sent the Respondents     fewer than a dozen DMC A takedown

notices.    Copies of all DMCA takedown notices received on behalf of AMA from the date of the

Settlement Agreement to the present are attached as Exhibit I to the Urrestarazu Affidavit.      With

respect to each of the URLs listed 011 the takedown notices, the Respondents promptly took

down the allegedly infringing files upon receipt of the DMCA takedown notice. Urrestarazu

Affidavit,917.




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        Shockingly, the Complaint filed by AMA does not allege that the Respondents             failed to

take down a single file when served with a DMCA takedown notice, nor does it identify any file

which the Respondents failed to take down after receiving notice from AMA.

        With respect to the prevention of future infringement      litigation, the Settlement

Agreement makes it abundantly clear that: (a) claims for infringement        could be brought only

after AMA had first utilized the Porn Pros Removal Form or sent a formal DMCA takedown

notice (and then only with respect to those files identified in the Porn Pros Removal Form or the

formal DMCA takedown notice) and (b) claims for infringement           could be brought only if the

Respondents,    once properly notified of specific allegedly infringing files, failed to takedown the

files so identified.   See Settlement Agreement, <JI<Jl2.1
                                                        and 4.0.

        Specifically, paragraph 2.1 of the Settlement Agreement, entitled "Pre-suit Requirements

and Protections Against Future Litigation,"     reads:

        The Parties acknowledge that this Agreement is intended to resolve all pending
        issues between the Parties relating to their operation of the Websites. in an effort
        to both address previous claims and to prevent future litigation. Therefore,
        prior to the filing of an)' future litigation against the Respondents, either
        individually or collectively, relating to intellectual property rights
        infringement, Porn Pros agrees that it wiH afford respondents an opportunity
        to remove any and an allegedly infringing material using the Porn Pro
        Removal Form and procedure described in paragraph 3.0 below. So long as
        Respondents discharge their obligations pursuant to paragraph 3.0,
        Porn Pros shan not initiate any legal proceeding against the Respondents or
        their agents, employees, successors, or assigns, relating to the allegedly infringing
        material.

Settlement Agreement,      ql 2.1 (emphasis added).

        Paragraph 4.0, entitled "Websites'    Legal Status," reads:

        Respondents shall not be considered in breach of this Agreement, and shall not be
        liable for any legal claims based on infringement of Pornl'ros' copyrights or
        trademarks with respect to any Pornl'ros Content appearing on the Websites so
        long as Respondents comply with the obligations imposed by Section 3.0.
        PornPros further agrees that so long as Respondent perform their responsibilities


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         under this Agreement, the operation of the Websites shall not be deemed                       as
         infringing by PornPros or violative of Porn Pros' intellectual property rights.

         Finally, although the Parties sought to limit the instances in which attorney's            fees could

be awarded to a prevailing party in arbitration, the Settlement Agreement provides that the

arbitrator may award such fees when he or she: "expressly finds that the non-prevailing                party's

claim or defense of a claim was frivolous, vexatious, or undertaken in bad faith."            Settlement

)\greement,    ~[8.0.

                                          LEGAL ARGUMENT

A.       AMA'S COMPLAINT MUST BE DISMISSED FOR ITS FAILURE TO MEET
         THE CONDITIONS PRECEDENT TO FILING A CLAIM FOR ARBITRATION.

         It is axiomatic that "arbitration is a matter of contract and a party cannot be required to

submit to arbitration any dispute which he has not agreed so to submit."           Offerllubb.net,      Inc. v.

FUll   Club USA, lnc., 2015 U.S. Dis!. LEXIS 97605 (D. Nev. July 24, 20]5) (citations omitted);

Hillgen-Ruiz    v. TLC Casino Enters" 2014 U.S. Dist. LEXIS 149480 (D. Ne\. Sept. 12,20 I4)

(same). The terms of an agreement to arbitrate must be "rigorously enforce 1 d):'            Siy v.

Cash Call, /I1C .. 2014 U.S. Dist. LEXIS 1472 CD. Nev. Jan. 6, 2014).

         An arbitrator "derives his or her powers from the parties' agreement to forgo the legal

process and submit their disputes to private dispute resolution."         Stolt-Nielsen   S.A. v.

AnimalFeeds     lnt'l Corp .. 559 U.S. 662. 682 (20] 0) (citing AT&T Technologies,         Inc. v.

Communications          Workers, 475 U.S. 643,648-649       (1986) for holding that "I A)rbitrators derive

their authority to resolve disputes only because the parties have agreed in advance to submit such

grievances to arbitration.").     See also Campbell \'. Nev. Prop. I LLC. 2013 U.S. Dist. LEXIS

166467 (D. Nev. Nov. 20. 2013) (arbitrator derives his or her power to adjudicate a dispute from

the "specific provision of the Contract itself').   Parties are free to "limit the issues they choose to



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arbitrate ... and may agree on rules under which any arbitration will proceed."        Stolt-Nielsen

S.A., 559 U.S. at 683.

       In the present case, AMA's ability to initiate arbitration (or any legal process) is subject

to strict conditions precedent, namely that arbitration may only be initiated if AMA has first

utilized the PornPros Removal Form or a formal DMCA notice and only then if the Respondents

fail to take down those files located at the URLs identified by the Respondents.       Settlement

Agreement,   1m 2.] and 4.0.
        AMA's Complaint fails to allege that either condition precedent was met: it does not

allege that AMA ever utilized the PornPros Remova] Form or sent any formal DMCA takedown

notices and it does not allege that, having received a PornPros Removal Form or formal

takedown notice, the Respondents     failed to remove identified files. These failures of condition

precedent require dismissal of the present complaint.     See. e.g., Clark County Sch. Dist. v.

Richardson Constr., Inc., 123 Nev. 382, 395 (Nev. 2007) ("Generally,        the plaintiff has the

burden to plead and prove that it fulfilled conditions precedent in order to recover on a breach of

contract claim." (citing NRCP 9(c»)); Arbor Acres Farm v. Gre Ills. Group, 2002 U.S. Dist,

LEX IS ] 13] (E.D. Cal. Jan. 23. 2002) ("The satisfaction of conditions precedent is a necessary

element of any breach of contract claim ....     Failure to allege that such conditions are satisfied

amounts to failure to state a claim for relief." (citations omitted»;   Orlando v. Carolina Cas. Ins.

Co., 2007 U.S. Dis!. LEXIS 56409,15-16         (E.D. Cal. July 26, 2007) ("Where contractual liability

depends upon the satisfaction or performance      of one or more conditions precedent, the allegation

of such satisfaction or performance is an essential part of the cause of action ....    The failure to

allege the satisfaction, waiver, or excuse of a condition precedent amounts to a failure to state a

claim for relief." (numerous citations omittedj).



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        The Complainant's        wholesale failure to allege the satisfaction of conditions precedent is

not accidental: AMA has not alleged satisfaction of the conditions precedent because it cannot

allege these crucial facts. The Respondents           have fulfilled each of their obligations under the

Settlement Agreement.        The Complainant's        failure is not only a failure to state a claim upon

which relief may be granted (though it is that as well), it is also a failure that deprives this forum

of an arbitrable dispute.     This forum derives its power from the provisions of the Parties'

Settlement Agreement.        The terms of that agreement (including its conditions precedent to the

initiation of an action) must be strictly construed.          The Complainant's       fail ure to plead the

satisfaction of the conditions precedent (indeed, its failure to actually satisfy the conditions

precedent) mandates the immediate dismissal of AMA's Complaint.

B.         AMA'S COMPLAINT FUNDAMENTALLY MISSTATES THE RESPECTIVE
           OBLIGATIONS OF THE PARTIES.

           Although the Respondents       need go no further in order to establish their right to the

immediate dismissal of AMA' s Complaint, it is useful to note just how extensively AMA has

misstated the respective obligations of the parties with respect to the DMCA.~ Unable to identify

a single file that the Respondents       failed to take down after receiving a DMCA takedown notice,

AMA instead vaguely alleges that the existence of allegedly infringing files on the Respondents'

websites is sufficient to state a claim for infringement.           It is not.

           There is no question but that. as a matter of law. service providers, such as the

Respondents,     have no obligation to monitor or locate potentially infringing files posted to their

website.     17 U .S.c. § 512(m) ("Nothing in this section shall be construed to condition the

applicability   of [the safe harbors] on ... a service provider monitoring its service or


'Although    AMA', action in bringing its Complaint without having first met the necessary conditions precede III i,
reason in and of itself for the arbitrator to award attorney" s fees against AM A for having intuited a fri volous
complaint, it is worth also examining also how fundamentally AMA's complaint misstates the applicable law as
further evidence of the frivolous nature of its Complaint.

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affirmatively   seeking facts indicating infringing activity .... "). Instead, in enacting the Digital

Millennium Copyright Act, Congress made a "considered policy determination"             to place the

"burden of policing copyright infringement        -   identifying the potentially infringing material and

adequately documenting       infringement -     squarely on the owners of the copyright." Perfect 10,

Inc. v. CCBill LLC, 488 F.3d 1102, 1113 (9th Cir. 2007).

        This means that the copyright holder is required to identify the allegedly infringing

material and bring it to the attention of the service provider.     The service provider is not obliged

in any way to search for - or to identify - allegedly infringing materials even if it had a general

awareness that infringement      may have been occurring on its site. See l7 U.S.c. § 51 2(m);

Perfect 10, Inc. 1'. CCBill LLC, 488 F.3d 1102. 1113 (9th Cir. 2007); ViaC0111Int'l, Inc. v.

YouTube, Inc., 2012 U.S. App. LEXIS 6909 (2d Cir. N.Y. 2012). See also UMG Recordings,                 718

F.3d at 1022 ("Copyright holders know precisely what materials they own, and are thus better

able to efficiently identify infringing copies than service providers like Veoh. who cannot readily

ascertain what material is copyrighted and what is not." tciting S. Rep. No.1 05-1 90, at 48 ("rAJ

I service 1 provider could not be expected. during the course of its brief cataloguing visit, to

determine whether      r a] photograph   was still protected by copyright or was in the public domain:

if the photograph was still protected by copyright. whether the use was licensed: and if the use

was no! licensed, whether it was permitted under the fair use doctrine.l'Ij).

        Accordingly,     even if AMA had satisfied the conditions precedent required to initiate the

present arbitration (which it clearly did not). the allegations of the Complain! would still fail to

properly allege liability attributable to the Respondents.      And. again, while the merits of the

underlying complaint are largely immaterial (given AMA's failure to meet the required




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conditions precedent), the weakness of AMA's actual claims bolsters the conclusion that the

present complaint is vexatious, frivolous, or was brought in bad faith.

C.      AMA'S ALLEGATION THAT AGGRESSIVE TAKEDOWN PROCEDURES
        ARE EVIDENCE OF "GUILT" IS FARCICAL.

        Although it was under no legal or contractual obligation to do so, when AMA

complained generally that its works were appearing on the Respondents'      websites (but failing

and refusing to specifically identify which files were allegedly infringing or where they might be

located), the Respondents   nonetheless attempted to do more than was required by locating and

removing such files.

        Proving again that "no good deed goes unpunished."     however, AMA points to the fact

that the Respondents   did more than was required as supposed evidence of "guilt."    See

Complaint. g[50 ("Respondents'     removal of AMA's content is further evidence of their guilt. An

innocent party would not remove content and destroy all evidence if that party was not liable

under the Digital Millennium Copyright Act (the 'DMCA')        because third parties had uploaded

the videos.").   See also Complaint, g[9152-56 (alleging that, by removing allegedly infringing

materials that they locate. the Respondents   "alter" their websites in some nefarious manner).

        AMA' s allegations are the height of absurdity.   A service provider does not prove its

"guilt" by going beyond what is required of it in an attempt to locate and remove allegedly

infringing materials, nor does a company legitimately concerned about protecting its intellectual

property rights complain when a service provider does more than the law requires in an attempt

to ensure that infringing materials are purged from its site. This level of absurdity again bolsters

the conclusion that the present complaint is vexatious, frivolous, or was brought in bad faith.




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D.     AMA'S ALLEGATION CONCERNING RESPONDENT'S RESPONSE TO A
       SUBPOENA OBTAINED BY AMA FAILS TO STATE A CLAIM AND
       DEMONSTRATES AGAIN AMA'S BAD FAITH.

       On January 26, 2015, AMA sought from the Federal District Court in Nevada a subpoena

requiring Respondent Borjan Solutions, S.L. ("BSSL") to provide information concerning certain

individuals or entities who were responsible for uploading specific files to BSSL's websites.   A

copy of the subpoena is attached hereto as Exhibit 2.

       On March 11,2015,    BSSL responded to this subpoena, noting that, as a foreign

corporation, although it did not believe it was legally bound by subpoenas issued by U.S. Courts,

its practice was to voluntarily provide information responsive to such subpoenas.   See Exhibit 3.

       More specifically, BSSL wrote:

       Please be advised the Borjan Solutions S.L. is not a United States entity, is not
       subject to personal jurisdiction in the United States and is not subject to United
       States law. Therefore. it is not obligated to respond to the subpoena. However, as
       a courtesy and in the interest of cooperating with United States intellectual
       property owners, Borjan Solutions S.L. voluntarily submits the information
       requested without subjecting itself to personal jurisdiction in or the law of the
       United States.

BSSL's response included the information sought in the subpoena.

       Despite the fact that BSSL responded fully to AMA's subpoena. AMA claims in its

arbitration complaint that the advisory preface in BSSL's response somehow violated the terms

of the Settlement Agreement and caused AMA harm. Such allegations are laughable.

       Section 3.3 of the Settlement Agreement provides that:

       In the event PornPros serves Serviporno with a valid DMCA subpoena for
       Website end user information, Serviporno agrees not to challenge the subpoena
       for lack of personal jurisdiction. Porn Pros further agrees that any failure by
       Serviporno to challenge DMCA subpoenas for lack of personal jurisdiction shall
       not constitute a waiver or consent to personal jurisdiction of any U.S. state or
       federal court and that such actions shall be inadmissible in any legal proceeding
       by PornPros against Respondents for the purpose of establishing the ex istence of
       personal jurisdiction.


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        Upon service with AMA's subpoena, BSSL took no steps to challenge the subpoena in

Court or to object to the production of the requested information.            Instead, BSSL responded

fully, providing the requested information,          noting only (as the Settlement Agreement explicitly

provided), that the provision of such information pursuant to a subpoena issued by a U.S. Court

did not constitute consent to personal jurisdiction           over BSSL in the United States.

        AMA's allegation that the prefatory language of the response letter constitutes a violation

of Section 3.3 of the Settlement Agreement is clearly made in bad faith and its claim that it

suffered legally cognizable damages as a result of such language doubly so.

E.      RESPONDENTS ARE ENTITLED TO RECOVER ATTORNEY'S FEES.

        Although the terms of the Settlement Agreement limit those instances in which the

arbitrator may award attorney" s fees. it does provide that such fees shall be awarded when the

arbitrator finds that the non-prevailing         party's claim or defenses are frivolous, vexatious, or

undertaken in bad faith.

        "An action becomes frivolous when the result appears obvious or the arguments are

wholly without merit." Smarasek v. Nevada. 2014 U.S. Dist. LEXIS 128731 (0. Nev. Apr. 16.

2014) (citations omitted).     In considering      whether a claim is frivolous, vexatious, or undertaken

in bad faith. the arbitrator may also take into account the motivations of the losing party. See.

e.g., Perfect JO, 111C. 1'. Giganews,   111C.,   2015 U.S. Dist. LEXIS 54063 (C.D. Cal. Mar. 24, 2015)

C'Perfect J O'~undisputed conduct in this action has been inconsistent with a party interested in

protecting its copyrights.).

        In the present case. AMA's claims were clearly frivolous. vexatious. and undertaken in

bad faith: the terms of the negotiated Settlement Agreement were not ambiguous.                 AMA":-, failure




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to meet the conditions precedent to initiating the present arbitration was not accidental."

Additionally,   AMA's actions have been far from consistent with a party interested in protecting

its copyrights: it has not once used the dedicated PornPros Removal Form; it has complained                 in

its Complaint that Respondents       are going beyond their obligations to remove allegedly infringing

materials, and it has outright refused (even in its Complaint) to specifically identify those files it

claims to be infringing (which would allow for their removal).

         Because AMA's claims are frivolous, vexatious, and brought in bad faith, the

Respondents are entitled to recover their costs and attorney's fees.

                                                            Respectfully submitted.
                                                            Respondents
                                                            BORJAN SOLUTIONS, S.L. d/b/a
                                                            SERVIPORNO and
                                                            BORJAN MERA URRESARAZU,
                                                            By their Attorneys

                                                                    ~       /' /) /:C:_:.----------
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Dated: August J9. 2015


4 Respondents made these arguments clear to A M A at the mediation bet ween the partie, and in subsequent
communications  with AMA. AM A chose nevertheless to pursue its claims knowing it had no legitimate right to do
so.


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                        Exhibit 1
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...




                                                   SETTLEMENT                                 AGREEMENT AND MUTUAL RELEASE

                                  THI SAG REEM ENT is made and entered into as of the dale last executed below (the
                          "Effective Date"), by and between sse Group. LLC d/b/a Porn Pros ("PomPros") on the one hand.
                          and Borjan Solutions S,L. d/b/a Serviporno.com ("Serviporno"). Borja Mera Urrestarazu ("Borjan").
                          and Monetia S.L. d/b/a Cumlonder.com and Warncash ("Monetio") on the other hand. Servlporno,
                          Borjan, and Monetis are collectively referred to as the "Respondents:' Porn Pros and Respondents are
                          collectively         referred to as the "Parties"; individually, each may be referred to as a "Party."


                                                                                                               RECITALS

                                /\, Porn Pros asserted claims relating to intellectual property infringement against Respondents
                                    ("Claims"), via demand tetter dated April 16.2013. relating to Respondents' alleged operation
                                    of various adult-rherned websiies. including Serviporno COI)1, and Cumlouder ,(,0111, and all~
                                    affiliated sites {the "Wcbsires").
                                I~, Respoude nts have denied llabilhy (PI the mfringcmem claims and have asserted ihrn Ill{' conn:
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                              -,he payment shall be in the form of II wire transfer made payable to Randazza Legal Group
                       Trust Account, Instructions are attached to this Agreement.


                                                     I ,2 Adverl.isinglMarketing                          Considerations

                                Respondent Monetia agrees to place, a hyperlinking graphical advertisement via an IFRAME
                       hosted by Complainant PomPros measuring 950 pixels in width by 250 pixels in height, the content lor
                       which shall be provided by Complainant PomPros. in the footer on every page in Respondent
                       Moneiia's password-protected member's area (the "Footer Ad"). Respondent Monetia shall display
                       the Footer Ad to all users, from all countries. lit all times for 6 months, beginning within 10 days after
                       the Effective Date, Respondent Monetia shall also create a channel for PomPros content within its
                       members area. which it shall maintain indefinitely, which is 10 be created within 10 days of the
                       Effective Dale, Complainant PornPros reserves the right to inspect Respondent Monetia 's password-
                       protected members' area for compliance with this term at any lime,

                                       Re spondent             MOI1l"!ia shall earn n 50'h· revenue                                    shuic of a]] sales Pornl'ros                                  derives         from        tilt
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                    informed Respondents of the existence of any such material, in an effort to allow Respondents all
                    opportunity  to remove such material from the Website. No material belonging to PornPros that was
                    published on the Websites prior to the execution of this Agreement shall form the basis for any
                    intellectual property claim against Respondents, subsequent to the execution of this Agreement,

                    3,0               !)ndenakings by Respondents

                                      3, I, Future Notifications                      of InfriJl2:ement



                    Within 10 days of the Effective Date. Respondents shall create a specific wen form for lise by
                    Pornl'ros for the purpose of identifying allegedly infringing links on the Websires to material owned
                    by Porn Pros (hereinafter the "Porn Pros Removal Form"). which will allow Pornl'ros 10 fill in
                    hyperlinks and submit any Website URL it believes to be infringing on its copyrights.                                        Submission       of
                    one or more links on the Porn Pros Removal Form will then automatically                                       result in the: content being
                    removed from ttl" subject Website, within rwerny-four (24) hours of submission of I:l link to material
                    appearing on OJ1{ 01 more of the Websites.                       The relevant Website useus) who ai e responsible for
                    uplQuding the identified material wi II he idem ifieo HS an infringer. consistent with the Websitcs No! ic:
                    f,' 'lliht'dQ\.\'Il Policy. and subjeci to termination Undl'l Respondems Repeat Infringer Policy l,"R 11" I
                    <;';-n ihllnn ~~hallprolJlJ)Jly provide 10 Pomf'IOS links to ail files uploaded bv :IJly user identified h)
                    l'ollilJr();. as <Ill intringcr, ~,OlJ:-' to enable PornPW5 10 determine if,U1Y other identifiable JiornPrm
                    material. hm., been uploaded by the user. POI1lPrm shall identify any additional infringing links, i\n,1
                    such materia] ~h;.dl ',]~(' be removed, and Servipomo shall terminate the usei ::.:" repeat inflilll!t't,                                     Ij


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       Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 18 of 94




                                     3,3, DMCA SubRoena Procedur~

                      A fter the execution of this Agreement, in the event Porn Pros submits a link on the Porn Pros
           Removal Form, and no counter-notification is received from the responsible user within fourteen (14)
          days, Respondents acknowledge that PomPros shall be entitled to initiate any appropriate court action,
          and issue II valid DMC A subpoena seeking subscriber information associated with the uploader of the
          allegedly infringing material. In the event PornPros serves Serviporno with a valid DMCA subpoena
           for Website end user information, Serviporno agrees not to challenge the subpoena for lack of personal
          jurisdiction. Porn Pros further agrees that any failure by Serviporno to challenge DMC A subpoenas for
          lack of personal jurisdiction shall nOI constitute a waiver or consent to personal jurisdiction of any U,S,
          state or federal court, and that such actions shall be inadmissible in any legal proceeding by Porn Pros
          against Respondents. for the purpose of establishing the existence of personal jurisdiction
          l.xpcditiously upon receipt of the DMC' A subpoena, Serviporno shall notifY the affected lISC. of the
          receipt thereof. and provide rh« user two (2) days within which to notify Sei vipoi no in WI iling whether
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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 19 of 94




  consideration, receipt of all of which is hereby acknowledged. each pany to this Agreement hereby
  acknowledges full and l;Ql'l1plete satisfaction of any and all claims against the other, and hereby ful.b:
  and forever releases and discharges each of the other Parties 1\5 well as their parent corporal ions lind
  business entities, subsidiaries, affiliates, heirs, agents, predecessors, successors. partners, directors,
  officers. employees, executors, trustees, administrators, attorneys, insurance companies, and assigns,
  past and present and each of them. for any and all claims. warranties, demands, causes of action in law
  or equity, suits. debts, liens, contracts, agreements, obligations, promises, liability, damages, loss, cost
  or expense, of any nature whatsoever. known or unknown, fixed or contingent, which any of the said
  Parries to this agreement ever had, now have or may, shall or can hereinafter have or acquire, from the
  beginning of the world up through the date. of this Release. including, without limitation on the
  generality of the foregoing, all claims which:

                                  ,i\,         Arise out 01' or are ill any way connected                                                with or related to the transactions,
  occurrences. ncb or omissions. set forth in the demand letter iransmined                                                                         by counsel for PomPr(lS                                           011

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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 20 of 94




   \\ arrantjes which are 1\01 expressly set fonh in this Agreement, have been, 01' will be claimed to have
   been relied upon in entering   into this Agreement.

   s.o                 Co~ts/Attome)' Fees

           Each Pam agrees to bear mat Party's own costs relating to this matter, including but n01
   limited to attorneys' fees, court costs, and all other expenses incurred with regard to !lily matter
   released pursuant to this Agreement, except in judicia] actions 10 enforce the terms of this Agreement
   as set forth in Section 16; in such a judicial enforcement action. the prevailing party shall be awarded
   its costs and reasonable anorneys' fees accrued in connection with the dispute from the non-prevai ling
   party only if the authority adjudicating the dispute expressly finds thl!t the non-prevailing party's claim
   or defense of a claim was frivolous. vexatious, or undertaken in bad faith,




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            Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 21 of 94




                   13,0            Assumption               of Risk


                                    By entering             imo this Agreement                                  and Release, each Party assumes the risk of any
                   misrepresentation, concealment, or mistake except for the representations and statements expressly
                   made in this Agreement and Release. If any Party should subsequently discover that any fact relied
                   upon hy him, her. or it in entering into this Agreement and Release is untrue, or that any fact or facts
                   were concealed from him. her, or it, or that his, her or its understanding of the facts or of the law WIIS
                   incorrect. or lhat the law presently in effect has changed in a manner which would otherwise affect
                   such Party's rights hereunder: such Party shall not be entitled 10 an\' relief whatsoever in such
                   connection or otherwise, including, without limitation on the intended generality of the foregoing, <lily
                   alleged right or claim to set aside or rescind this Agreement                                                                     and Release,              This Agreement                        and Release
                   I~     intended to be and is Ilnal and binding                                                between            the Parties hereto, regardless                         of an) claims of fraud,
                   misrepresentauon.                      promise                made without                     the intention           of performing.              concealment                    of fact, mistake                 of
                   fact or 1(1\\', change                 of     law. or of any other                              cirCIJIl1S13!1Cl' whatsoever.




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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 22 of 94




   18.0     Cooperation Clause

            All Parties agree to cooperate fully and to execute IIny and nil supplementary documents end tv
   take ali additional actions that may be necessary or appropriate to give full force and effect to the basic
   terms and intent ofthis Agreement and which are not inconsistent with its terms,

   19,{)    Vh-iting Required             for Amendment,                 Modification andior WlIivcr

           No provision hereof may be waived. modified or amended unless in writing and signed by all
   of the Parties hereto.

   20_0    AUJ'cement         Governed         bv Nevada              Law: Personal Jurisdiction,          Dis.!ll!te Resolution


              This Agreement shall be; governed. construed and enforced ill accordance with )'0c-vadp. IG\\'_
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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 23 of 94




                     20.3          No waiver of right                                   10 arbitration
                                                                         - There shall be no waiver of the right 10 arbitration
                                  unless such waiver                                 is provided
                                                                    affirmatively and in writing by the waiving Party to the
                                  other Party, There shall be no implied waiver of this right (0 arbitration, No acts, including
                                  the filing of litigation, shall be construed as a waiver or a repudiation of the right 10
                                  arbitrate,


      21 ,0          CountemarlS

              This Agreement may be executed in two or more counterparts and by different Parties hereto in
      separate counterparts, with the same effect as if all Parties had signed the same document. As such
      counterparts shall be deemed an original, they shall be construed together and shall constitute one and
      the same instrument This Agreement may be executed via facsimile signatures, which shall have the
      same force and effect as if they were original signatures,

      22 .o          Confidcl1lialir\_

                Till' I"m1it-s nglee lhal the existence and 1€.11l1~ ~Jfthis Agreement (the "C()ofidt'Jl1ial Terms") at ,
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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 24 of 94




   malling a copy thereof by regular mail OT certified Of registered mail, postage prepaid with rerum
   rec~ipt, or via email (0 the addresses set forth below;

    r 0 Respondents:
   clo Lawrence G. Walters.                        Esq.
   Walters Law Group
    195 W. Pine Avenue
   Longwood, FL 32750
   (407) 975-9150
   (407) 774-6151 (Fax)
   Email: larl'v(d'firstamcndmcllt.q)ln




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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 25 of 94




         Dated: August    J.9..., 20J 3

                                          Title: Owner

                                          For Borjan Solutions S,L, d/b/a Serviporno.com


         Dated: AugustJ3.,       2013




         Dated: August     ,fl,2013

                                          Title: Owner


                                          For: Monetta   S.L. d/b/a Cum louder.com   and
                                          Wamcash




         Acknowledged Ih:


         Counsel   1'01' Respondents                     Counsel for Pornf'r os
         Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 26 of 94



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                             SETIL.EMENI                         AGREEMENT AND MUTUAL RELI;A§f

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     ald Monetla SL. dfll'a CUt'llJOI.Jda'.comMd Wanartl ("Monetis') on the other halej, Saviporno,
     BorjM, Cl)(jMonetlaaeOOlle:tlvay referred to Iil3the"R~s."                  FOm Pros ald Respondentsa-e
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                                                                              RECITALS

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 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 27 of 94




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         Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 33 of 94
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 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 34 of 94




          1.2 Arbitrator   $ Authority. The Arbitrator !hall have no iiJthorlty to awSfd et'ly punitive or
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              ex;emplay ~           ce'tlfy a dass a.;tion; a;Jd illy pcrties; vifY or ignore the provlsicn5
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              ~I rer\CJEf a wrlttEJI opinion setting forth al tnaef'ia fa:ts a'ld the basis Of his or her
              decision within thirty (30) ~s of the conclusion of the crbitralon proceeding. THE
                PARTIES HEREBY WAIVE ANY RiGHTS THEY MAY HAVE TO TRIAL BY JURY
                IN REGARD TO ARBITRAL CLAIMS.

          1.3 No waiver of right to arbitration - There £tIal be no waver of the right to atltraion
              unless '-ICh WaVE( is provided dflr..nalvely End In writing by the waving Paiy to the
              other Paiy. There~J      be no implied waver of this right to crbItralon. No a::ts, including
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 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 35 of 94




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do Lavvrence G. W~ters, Esq.
Walters law Group
195 W, Pine AVErlue
Longwood, FL 3275fl
(407) 975-,9150
(407) 774,-6151 (Fax)
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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 36 of 94




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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 37 of 94




                         Exhibit 2
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 38 of 94



 RANDAZZA                                                                                                           Ronald D. Green
                                                                                                                              Partner
                                                                                                                     I icenseo in NV

 LEGAL               GROUP

                                                                                                                January 26, 2015

                                                                       _FILED
 Clerk's Office, U.S.District Court                                    _ENTERED
 District of Nevada - Las Vegas Division
 333 Las Vegas Boulevard South
 Las Vegas, NV 89101

            Re: DMCA Subpoena

 Dear Clerk of Cour1:

 Enclosed please find a request for the issu~;                                d SOb~mm:Jursuant                                        to
 the Digilal Millennium Copyright               Act,        17 U.S.C.     § 512(h). As required by the s                tute.   thE'
 following ore enclosed:

       I.   H)( /,pplicotl(Al/i)(;clor(Jtiotl fOI thE DMC t-- subpoeno i(' be i~SIJC
                                                                                   d,
      'J.   A copy of Hie proposed subpoena to be signed by the appropriate couri otlk.er:
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              Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 39 of 94
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AO 88B (Rev, 02114) Subpoena to Produce Documents, lnformation, or Objects or to Permit lnspection of remises       £\fllon        _SERVEOON
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                                          UNITED STATES DISTRICT I~OU1tT
                                                                        for the                                                 2 6 '015
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                                                                District of Nevada
In re AMA Multimedia, LLC: Identification of John Does
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                       SUBPOENA TO PRODUCE DOCUMENTS, INFORM~TION, OR OBtJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN ..,.CIVIL ACTION
                                                    Borjan Solutions S,L. d/b/a Serviporno.com
 To:

                                                     (Name of person /0 whom this subpoena is db ected)

       ft'f Production:    YOll AIlE COMMANDED to produce at the time. date, and place set forth below the following
documents.      electronically stored information. 01 objects. and to permit inspection, copying, testing. or sampling of the
material'



  Place:Randazz8     Legal Group                                                    i Date and Time:
           3625 S Town Center Drive Suitt' 150                                              r ebruary 9, 2()1t>     1000 a m. Pacific Time
           Las Vegas NV 89135

      n lnspec tiou 0/ Premises, YOl ARE ( OMMANOEJ) 10 permit enn . onto the designated premises land or
other properry possessed or controlled b) you at the time. date and location set forth below, so that the requesting party
may inspect, measiu e, ~1lI "'y. photograph, test. or sample the propc rtv or (jfl~, designated object or operat ion Oil it

  Place:                                                                             Datt and Tillie:



          'J hl folk \\ ing pr~,\ isions (if Fed, 1< l il I 4" are attached    Ruk .1'\«(') relating 10 the place otcompliance.:
H Ilk 4 S( 0). H lating to your protection <1<, a persoi I subject to a subpoena: and Rule 45( e) and (g), n latinp 1(1 .\ OUI duty to
respond to this subpoena and the potential consequences of not doing so
Date,      January 26, 201 f)




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AMA Multimeoia, II G                                                        .-'                  who I!>~m'~ 01 requests thi~, subpoena,             al.,·
f-lOITatctLlljTfSen rdg@randaz:za corn, (702) 420200'1
36~5 S. 'Iown emile!      [)J i%, Suite 15CJ. Las      Vegas,   NV 891 ~i6

                               Notice to the person who issues or requests th~ subpoena
1f this subpoena commands the production of documents, electronically stored information. or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom il is directed. Fed, R Civ. P. 45(a)(4).
               Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 40 of 94

AO 88B (Rev, 02114) Subpoena to Produce Documents.Information,    or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No,

                                                            PROOF OF SERVICE
                      (This section should not beflled with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of tndividuol and title, ifany)
011 (date)



             CI I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (dale)                                        , or

             CI I returned the subpoena unexecuted because:


             Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
             tendered to the witness the fees for one day 's attendance. and the mileage allowed by 13\\. in the amount of



My fees (lit: ~                                                                                  fOJ    SCI v 1L't s. fOJ   a tota I of ~)          0.0(\




             I declare uncle! pemllt) of perjury that this information            is true


Date:




Additional      informai inn H:garding artemptcd        <ervicr    ell.'
                      Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 41 of 94

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                    Ronald D. Green (Nevada Bar No. 7360)
                    RANDAlZA LEGAL GROUP                                                                  CLERK IJS DISTRICT COURT:
                    3625 S. Town Center Drive, Suite 150                                                     OISTRICT Of NEVADA     '
             2      Las Vegas, NV 89135                                                                                                DEPUt
                                                                                                    BV:
                    Telephone: 702-420-2001
             3      Facsimile: 305-437-7662
             4      ect@randazza.com

             5      Attorneys for Plaintiff,
                    AMA Multimedia, LLC
             6

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           12       Digjiul Millennium Copyright Aci                                SUPPORT OF ISSUANCE OF SUBPOENA
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                        Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 42 of 94




                     Inc., 393 F.3d 771 (8th Cir. 2005).                 This metter of law, however,                      is unsettled    wlthl
               2     the Ninth Circuit.
               3               It js the petitioner's         position that the Ninth Clrcult Court of Appeals                            woul
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                     fine contrary to these courts and would agree with the dissent in In te Charter
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                     393 F.3d 01 778. A plain reading                       of the DMCA will reveal that "[t]he                      subpoen
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                     power        created          by Congress         in § 512(h) does             not limit the type               of servic
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                 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 43 of 94




                Executed under penalty of perjury this 26th day of January, 2015.
          2
          3                                          Respectfully Submitted,
          4                                          RANDAZZA     LEGAL GROUP
          5                                          /_~I.RonaldJ1.Green         _
          6                                          Ronald D. Green (Nevada Bar No. 7360)
                                                     Randazzo Legal Group
o.        7                                          3625 S.Town Center Drive. Suite 150
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                    Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 44 of 94




                  Ronald D. Green (Nevada Bar No. 7360)
                  RANDAZZA LEGAL GROUP
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                  Telephone: 702-420-2001
            3     Focsirnile: 702-420-2003
            4     ecf@randazza.com

             5    Attorneys for Plointitf.
                  AMA Multimedia, LLC
             6

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            8                                 IN THE UNITED STATES DISTRICT COURT
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                        Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 45 of 94




                    Dated: January 26,2015                          Respectfully   Submitted,
               2                                                    RANDAZZA LEGAL GROUP
               3                                                    bj_Ronald D. Gre~LI'} __. _.. _ _
               4                                                    Ronald D. Green (Nevada Bar No. 7360)
                                                                    Randazzo Legal Group
               5                                                    3625 S. Town Center Drive. Suite 150
                                                                    Las Vegas, NV 89135
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                   Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 46 of 94




                 Ronald D. Green (Nevada Bar No. 7360)
                 RANDAZZA LEGAL GROUP
                 3625 S. Town Center Drive. Sui1e 150
            2    Las Vegas, NV 89135
                 Telephone: 702-420-2001
            3    Facsimile: 702-420-2003
            4    ecf@randazza.com

            5    Attorneys for Plaintiff,
                 AMA Multimedia, LLC
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                                            IN THE UNITED STATES DISTRICT COURT
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                                                     DISTRICT OF NEVADA
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<1               111 re AMA Multimedia, LlC: Identilicoiionl            Cose No.
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                 of John Does 1-256 PUrsL~oni to the,              I    ATIACHMENT      B TO SUBPOENA
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N                       lhe subpoeno      requests the jnfolrnotjofl      specified   ill Ai1o( hment A
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                         Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 47 of 94




                       Dated: January 26, 2015          Respectfully   Submitted,
                  II
             2                                          RANDAZZA LEGAL GROUP

             3                                          I..~LRonald D. Green.       . __._..  ,_.
                                                        Ronald D. Green (Nevada Bar No, 7360)
             4
                                                        Randazza Legal Group
             5                                          3625 S. Town Center Drive, Suite 150
                                                        Las Vegas, NV 89135
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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 48 of 94



RANDAZZA
LEGALGROUP

                                                             Privileged and Confidential Communication



                                                                                                December          23, 2014

\lig_ _!:moil OnlY.
Larry@firstamendmen1.com

Lawrence G. Walters, Esq.
Walters Law Group
195 W. Pine Ave.
Longwood, Fl 32750

            Re: Infringing Material On Serviporno.com

De or larry:

10m wri1ing on lJeholl of AMI, Multimedia             l.LC. ("/\M/,")   t/Uo ~~( GIOUp u c.. On 01
obout August 19, 2013, A MP, settled it< (opyrighi               r lolms against yout c lients Borjon
Solutions S.I d/b/e     1Serviporno.c om. BOIJarl MeJO Un estorozu. and Moneiio, S.l d/l)/(
(. urnloudei.c ..om ond worr« ash (collectively,         "Respondents").     TilOSC cloims relofed    to
IOlg(:; ornounts   of I,M/,'s c.opvtipl ue d ( ontenl appealing       on the Servipomo.c om website
in (' monner thot suggeste o if we: t eing LJI'!cladEcf tror other tU(,f; ;it(,~ t·y Responde rll~
themselves ond riot by users of the Servipomc, website. Hie seltlemen1 provided                    it 101
Respondenls would toke steps k e.nsuie thot AMI\'s contenl was nol ptor.eo unlowlully
or RespondE' 1115' wf,hsi1c', ond thot. if A t/,A " c or.te rIi did appeal          Oil Ruponde     nt' '
websites. it would t)e promptly token oown upon notificotion from AM/,

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wliic h oppeor legally Ot I other tube site~ ore being uploaded to Servipornc. 110m those
tube sites. As il currenlly stands AMA cannot           determine whether these videos are being
uploaded by Serviporno' s users or I')y Rf spondents themselves, /.,S ~LJch, we rcquf'St 1h01
Serviporno provide liS vviit, oil intoimot« r legordin~J ihc lJ~Ct(S) wile uplouded               ttlf" 111('viu
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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 49 of 94

Infringing Material on Serviporno
Page 2 of 2




aulhorized 10 display any of lhem on lhe Serviporno website, The original videos to which
AMA owns copyrights can be found on the World Wide Web at:


ht1p:/ /fantasyhd.com/video/more-than-a-mouthlul
http://puremalure ..cpfn./viQt:io/precioLJs-snqtch
http://tiny4k:corn/video/tiny-latina-teen
htlp://fan1asyhd corn/video/heart-rate-ho1tie

The information AMA seeks regarding the users who uploaded these videos includes, bul
is not limited to: their user names, their IP addresses, their email addresses, identification
01 all other videos that these users have uploaded to the Serviporno website, their login
histories, and ony other identifying information about these users in Serviporno's
possession, While AMA would like this information as quickly os possible, it additionally
recognizes that the holidays are fosi approaching, Therefore. pursuoni to the provisions
01 the se1tlemeni ogreemen1. please provide us with this informotion no later thon 14
dovs of the dote of this correspondence

Ihis nofic e io being  provided ill good faith and wiih reosonobls- ( eJiainiy that AM}',
( opyrighis ote being infringed. WE; Off, authorized to oc j on behall 01 AMA os ih counsel
or lei COil otles 1 thai 111(: intoi motion contoined  ill this C ornmunk otion is ilt Ie ond
0< cUla1€- We opprec iole YOUI time ond ol1€ntion io lhi~ motte: and look forword 10 Y0lJI
response,




                                Rul regards,




                               Ronold [l (-"1eFIl
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 50 of 94




                        Exhibit 3
       Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 51 of 94




                                     BOSTON LAW GRO_UP,                   PC
                                            ATTORNEYS       AT   LA W

                                          825 BEACON   STREET, SUITE 20
Main (617) 928-1800                  NEWTON CENTRE,    MASSACHUSETTS    02459                  Fax (617) 928-1802




       Via Email and First Class Mail

       March 11,20]5

       Ronald D. Green, Esq.
       Randazza Legal Group
       3625 S. Town Center Drive, Suite 150
       Las Vegas, Nevada 89135
       rdg@randazza.com

               Re:     Subpoena to Borjan Solutions S.L. d/b/a Serviporno.com
                       In re AMA Multimedia, LLC: Identification of John Does 1-256
                       Pursuant to the DMCA
                       U.S. District Court of Nevada, Case No. 2:1S-ms-00005

       Dear Attomey Green,

               Please recall that this law finn represents Borjan Solutions S.L. We are in receipt of your
       subpoena pursuant to the DMCA requesting information about the individuals who uploaded
       certain videos to the servipomo.com website. A copy of that subpoena is attached hereto for
       reference as Exhibit l.

               Please be advised the Borjan Solutions S.L. is not a United States entity, is not subject to
       personal jurisdiction in the United States and is not subject to United States law. Therefore, it is
       not obligated to respond to the subpoena. However, as a courtesy and in the interest of
       cooperating with United States intellectual property owners, Borjan Solutions S.L. \ oluntarily
       submits the information requested without subjecting itself to personal jurisdiction in or the law
       of the United States.

              Please find attached as Exhibit 2 my client's response 10 the information requested in the
       subpoena.

                Should you have any questions, comments or concerns, you may contact me directly at
       6 J 7-928-1804 or at vgurvits@bostonlawgroup.com
,   Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 52 of 94




                                Exhibit
                                   1
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 53 of 94




     RANDAlIA                                                                                           Ronold D. Green
                                                                                                                   Parlner
                                                                                                         LiCfJIISe(J in NY
     LEGAL               GROUP

                                                                                                     January 26,2015


     Clerk's Office, U.S. District Court
     District of Nevada - Las Vegas Division
     333 Los Vegas Boulevard South
     Las Vegas, NV 89101

                 Re: DNICA Subpoena

     Dear Clerk of Court:




            1.   The Application/Declaration      tor the DMCA subpoena              to be issued;
            2.   A copy of the proposed subpoena 10 be signed by the appropriate   court officer;
            3.   A copy ot a DMCA notice sent to the subject of the subpoena, as required by the
                 DMCA;


    I recognize that DMCA subpoena file requests are rare. Should you have any questions
    or require any additional items, please feel free to contact me af 702.420.2001



                                                         Sincerely,




                                                         Ronald D. Green




    encl:        Application/Declaration far DMCA subpoena
                 Proposed DMCA subpaena
                 Copy of DMCA takedown notice




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         Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 54 of 94


AO 88B (Rev. 02/14) Subpoena (0 Produce Documents.Information,    or Obiects or (0 Permit lnspection oftn:mlSes I~tion


                                            UNITED STATES DISTRICT                                                            OU~T
                                                                                for the                                                    ,jl\N    2 5 )015
                                                                 District of Nevada
In re AMA Multimedia, LLC: Identification of John Does
            1-256 Pursuant to the DMCA                                                                                                  CLERK us DlSmlCT COURT
                                                                                            )
                                                                                                                                          OISlBICT OF NEV~DA .. r'~'i~-:-
                               Pluintif}'                                                   }                                   Y:             i             -...
                                  v,                                                        )
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                             Defendant
                                                                          -                 ~             2: 15-ms !00005

                       SUBPOENATO PRODUCE DOCUMENTS,INFOJl1I0N,                 OR O~CTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                      Borjan Solutions S.L. d/b/a servioome.eom      .
 To:

                                                     (NOllie o/pel"so;,        /0 ... hom          '(I,is .~lIb;)(;el/(;is di~'ec/edJ
    .,![ Production: VOl) ARE COMMANDED to produce at the time, dale, and place set forth below the following
documents. electronically stored information. or objects, and to permit inspection. copying, testing. or sampling of the
material:




 i Place:Randazza      Legal Group                                                                       i Date and Time:
             3625 S. Town Center Drive, Suite 150                                                                  February 9, 2015. 10:00 a.m. Pacific TIme
             Las Ve~as, NV 89135

      Ll II1.\'P('('Iiol1 ofPremises: YOll ARE COMMANDED to permit entry onto the designated premises. land. or
 other property possessed or controlled b) you at the time, date, and location set forth below. so that the requesting party
 may inspect. measure. survey, photograph, test. or sample the property or any designated object or operation on it.

 , Place:                                                                                                  Date and Time:




          I he follow ing provisions 01 Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
 Rule '~5(d), relating 10 your protection as a person subject to 1I subpoena: and Rule 4S(e) and (g). relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.
 Date'
         .
             January 26,2015
                                                                 ~.- <,       ,j ~-.' ...
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                                                                                                                                          Attornev '.1' signature
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The name. address, e-mail address, and telephone ~fR~\h.e1lftorney                                                  representing (name oj'party}
AMA Multimedia, LLC                                   ----.-.                                                         who issues or requests this subpoena, are:
Ronald D. Gre-en. -rdg@ram:lazza:com.              (702,-420-2001.
3625 S. Town Center Drive, Suite 150              Las Vegas, NV 89135.

                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents. electronically stored information, or tangible things or the
 inspection of premises before trial. a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ, P. 45(a)(4).
       Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 55 of 94


AO 88B (Rev, 02114) Subpoena 10 Produce Documents. Infomllllion. or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not heft/eo with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of indtvidual          Gild lit/e.   if ally)
on (date)

            o I served the subpoena by delivering a copy to the named person as follows:

                                                                                               on (dale)                                ; or

            o I returned the subpoena unexecuted because:

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance. and the mileage allowed by law, in the amount of
            $


 My fees are $                                     for travel and $                                 for services, for a total of$              0.00



            I declare under penalty of perjury that this information is true.


 Date:



                                                                                                    l'rinte d name {/1/(1 iii!"




Additional information regarding attempted service. etc ..
               Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 56 of 94


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                Ronald D. Green (Nevada Bar No. 7360)
                RANDAZZA LEGAL GROUP                                                     CLERK US DISTRICT COURT· :
                3625 S. Town Center Drive. Suite 150                                       DISTRICT OF NEVADA                     1
          2     Las Vegas. NV 89135
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                                                                                 BY:
                Telephone: 702-420·2001
          3
                Facsimile: 305-437-7662
          4     ecf@randazzQ.com

          5     Attorneys for Plaintiff.
                AMA Multimedia.      LLC
           6

Cl.        7                                                            2: 15-ms-00005
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           9
(I)                                                  DISTRICT OF NEVADA
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-<.1             In re AMA Multimedia. LlC: Identificationj           Case No.
cr)       11     ot John Does 1-256 Pursuant 10 the
                                                                      APPLICATION AND DECLARATION IN
,II
 _ J      12     Digital Mi"enniu. " Copyright     Act          J'    SUPPORT OF ISSUANCE OF SUBPOENA
                 ("DMCA")       __._.__.                        _     UNDER 17 U.S.C. § 512(h)
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                                   ISSUANC~_OFSU~PO~~A VN~~               )7 V_.S~C.§ 512_{h)
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Z                       Pursuant to 17 U.S.C. § S12(h). I. Ronald            D. Green.        attorney        for AMA
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ex               Multimedia.    LLC ("AMA"),      hereby swear thai the purpose for which AMA seeks
          18
                 the registered subpoerios     is to obtain the identity 01 alleged         copyright        Infringers,
          19
                 and that such information        will only be used for the purpose of protecting                 AMA '<;
          20
                intellectual   property righ1s.
          21
                       AMA is aware of precedent             concerning     the use of Digital             Millennium
          22
          23    Copyright      Act ("DMCA")    subpoenas      10 identify   individuals     from cable            service

          24     providers in the Court of Appeals        for the District of Columbia        Circuit. Recording

          25    Industry Ass'n of America         v. Verizon Internet   Servs.. Inc., 351 F.3d 1229 (O.D.C

          26     2003), as well os the Eigh1h Circuit Court of Appeals.                In re ( hartel      Comm 'ns.

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              Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 57 of 94




               Inc" 393 F.3d 771 (8th Cir. 2005). This matter of law, however.                         is unsettled    withi

         2     1he Ninth Circuit.
         3              It is the petitioner's    position that the Ninth Circuit Court of Appeals                     woul
         4     find contrary to these courts and would agree with the dissent in In re Charler
         5     393 F.3d at 778. A plain reading                of the DMCA will reveal that "[t]he                subpoen
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               power      created     by Congress         in   § 512jh) does not limit the type of servic
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               provider tor whom subpoenas                may be issued in the fight against internet piracy
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                        The only viable        way   for copyright      owners to vindicate             their intellectua
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C")            property     rights in a timely          manner    when     infringing     materials      are transmitte
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<J             across peer to peer networks                is to subpoena          the [internet       service    providers,
(_ ')    11
III            a/k/a)    ISPsfor disclosure of the identities of alleged             infringers."      Id. at 779.
 .,.1    12
                        The Charter      Court's        dissent further    noted      that    "[t)he     suggestion      tho
         13
<t             copyright     holders should be lefl to file John Doe lawsuits to protect                         themselve
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               from infringement       by subscribers of conduit           ISPslike Charter, instead of availaing
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0              themselves      of the mechanism            Congress provided            in the drnco.       is impractica
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« 17           and contrary to legislative intent."              Id. at 782. Indeed,         "[njowhere     in the DMC
ce:
         18    did   Congress       indicate     that    copyright     holders     should     be relegated            to suc

         19    cumbersome           and expensive        measures     las filing individual       adversarial        lawsuits]

         20    against     conduit     ISPs. 1he legislative          history shows that         the     purpose       of th
         21    subpoena       power     in the       DMCA      was to obtain         the assistance         of ISPs in a
         22    expeditious      process to stop infringement."               Id.     Additionally,       the mtorrnotio
         23    sought pursuant to this subpoena                is not of anonymous           file-sharers, but rather          0

         24    registered users of the website <serviporno.com>.
         25
                        On this basis, this Court may properly grant AMA subpoena                           power unde
         26
                17 U.s.c. 512(h) in order to pursue the infringers of his copyrighted                     work.
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               Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 58 of 94




                Executed   under penalty   of perjury this 26th day of January,      2015.
          2

          3                                              Respectfully   Submitted,
          4                                              RANDAZZA LEGAL GROUP
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          6                                              Ronald D. Green (Nevada Bar No. 7360)
                                                         Randazzo Legal Group
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                Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 59 of 94




                 Ronald D. Green (Nevada         Bar No. 7360)
                 RANDAZZA LEGAL GROUP
                 3625 S. Town Center Drive, Suite 150
            2    Las Vegas, NV 89135
                 Telephone: 702-420-2001
            3    Facsimile: 702-420-2003
            4    ecf@randazza.com

            5    Attorneys for Plaintiff,
                 AMA Multimedia, LLC
            6

D.          7                                                                2: 15-ms-00005
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0                                           IN THE UNITED STATESDISTRICT COURT
ex
            9
(_r)                                                   DISTRICT OF NEVADA
       !   10
<··f             In re AMA Multimedia, LLC: Identification                  Case No
(_')       11    of John Does 1-256 Pursuant to the
                                                                            ATIACHMENT A TO SUBPOENA
I.LJ
           12    Digital Millennium Copyright Act
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                 _[Q~~A'1._         __             .               _
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N                Items and information      requested         pursuant     to this subpoena:
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                    1. Any and all information         in your possession pertaining           to the identity(y/ies)
Z 16                    of the lndivlduolts)   who uploaded              the videos specified    in Attachment      B
« 17
~                       infringing   AMA Multimedia,          LLC\ copyrighted        works of <serviporno.com>,
           18
                        including    but not limited    to:
           19
                            a. The users' name(s)
           20
                            b. The users' last known address(es)
           21
                            c. The users' e-mail address(es)
           22
                           d. The users' phone         number (s)
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            Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 60 of 94




                 Dated:   January   26,2015   Respectfully   Submitted,
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        2                                     RANDAZZA LEGAL GROUP
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        4                                     Ronald D. Green (Nevada Bar No. 7360)
                                              Randazza Legal Group
        5                                     3625 S. Town Center Drive, Suite 150
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              Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 61 of 94




               Ronald D. Green (Nevada Bar No. 7360)
               RANDAZZA LEGAL GROUP
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          2    Las Vegas. NV 89135
          3    Telephone: 702-420-2001
               Facsimile: 702-420-2003
          4    ecf@randazza.com

          5    Attorneys for Plaintiff,
               AMA Multimedia, LLC
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          8
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CJ                                                 DISTRICT OF NEVADA
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               In re AMA Multimedia, LLC:                            Case No.
Ci       11
               of John Does 1-256 Purs~ant to the         ..         ATTACHMENT B TO SUBPOENA
Ij I
         12    Digital Millennium Copynght Act
     J
               ("DM~~_                        _                _
         13
<X:
N        14
N                     The subpoena    requests the information         specified in Attachment   A
<{       15
0              pertaining to users of <serviponor .com> who uploaded             the following videos that
         16
Z              infringe on AMA Multimedia,        Ll C's copyrights:
« 17
c.:
         18       •   http://www.serviporno.com/videos/corrine-blake-follodo-despues-
         19           del-masaje/
                  •   http://www.serviporno.com/videos/sexy-asiatica-gozando-de-una-
         20
                      gran-polla/
         21       •   http://www.serviporno.com/videos/un-pov-con-una-mini-Iatina/
                  •   http://www.serviporno.com/videos/lo-perteccion-existe/
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               Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 62 of 94




                    Dated: January 26, 2015     Respectfully Submitted,
               II
           2                                    RANDAZZA LEGAL GROUP
           3                                               Q--, Gre~n_____ _
                                                /~_lS__onald                    _.. ._.   ._
           4                                    Ronald D. Green (Nevada Bar No. 7360)
                                                Randazza Legal Group
           5                                    3625 S. Town Center Drive, Suite 150
                                                Las Vegas, NV 89135
           6

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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 63 of 94




   RANDAZZA
    LEGAL             GROUP

                                                                 Privileged and ConfidenHal           CommunlcaHon



                                                                                                  December 23.2014

    YiQJ!!J9jl ..Qn!Y
    Larry@firstamendment.com

    Lawrence G. Walters. Esq.
    Walters Law Group
    195 W. Pine Ave.
    Longwood. FL 32750

             Re: Infringing Material        On Serviporno.com

    Dear Lorry:

    I ern wri1ing on behalf of AMA Multimedia,           LLC ("AMA ") I/k/a SSe. Group, LLC. On 01
    about August 19, 2013, AMA settled            its copyright    claims against your clients Borjon
    Solutions S.L. d/b/a   Serviporna.com.     Borjan Mera unestotozu          one Monetia, S.I. d/b/a
    Cumlouder.com      and Wamcosh       (collectively     "Respondents").      Those cloirns related   to
    lurge amounts of AMA's copyrighted         content uppeoring        on the Servipomo.com website
    in a monne: that suggested it was being uploaded            from other tube sites by Respondents
    themselves and not by users of the Serviporno website. The settlement                  provided   that
    Respondents would toke steps 10 ensure that AM!'.'s content was not placed unlawfully
    on Respondents'      websites and that. if AMA's content             did appear   on Respondents'
    websites, il would be promptly taken down upon notification             from AMA.

    FOI  about a year otter the execution of the settlement.        AMA 's copyrightec!  content was
    largely obsent 110m the Serviporno website. However in October 01 2013, AMA observed
    thot its content      hod begun oppeorinq        on tht" site in the some manner      Ihat it hod
    appealed     in the post. Specifically, its full length videos and shorter promotional     videos.
    which oppeor       legally on other tube sites are being uploaded       to Serviporna trorn those
     lube sites. As it currently stands, AMA cannol delermine whether these videos are being
    uploaded     by Serviporno's users or by Respondents themselves. As such, we request thai
    Serviporno provide us with all mtonnotlon regarding Ihe lIser(s) who uploodeo the movies
    located at the following URls:

    hIIp./ /ww'v"i.\e, VIf)OIl lO.CC)Il)/Vf(VuS/C()11 il,f' blokl tollndo (je~pu(-;s-del·n I< lsoje/
    IIt lp./ /www sel VipOIIiO. C. orn/virjF;o,/Scxy     osrotic o gozofldo de uno gl on- pono/
    hIIJl.//www     servipomo.r om/videos/iII)         pnv ( on III'(! llIilli·ICltin(li
    ill II' //www ',(,;1vrpou ,(_l ( oI1l/Vicil~u5/lo ~celfE;( ClOII t. >j~,it /

    The tilst two links obove ole 101 sholt videos exc.eip le d 110111AMA " 1011gel IUiI-lellgttl
    viclf' os. ThE lo tter lwc- lillb contoin /'.IVIA' <, entire" luil length videos. k'esporlli<;nts 01enol



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                                          rdqCIl r,,"(Jono.c   ell)     I 7W.·1?O.)OU]
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 64 of 94



   Infringing Material   on Serviporno
   Page   2 of 2




   aulhorized 10 display any of them on the Serviporno website. The original     videos to which
   AMA owns copyrights can be found on the World Wide Web at:

   http://fantasyhd.com/video/rnore-than·o-moutiliul
   hi tp:1 Ipuremo Il.Jr~.corn/video/precious-snqtch
   htJp:/ /tiny4k. com/video/ttnv-Iotmo-teen
   http://tanlosyhd.com/video/hearl-rale-hotlie

   The information AMA seeks regarding the users who uploaded           these videos includes, but
   is not limited 10: their user names, their IP addresses, their email addresses, identification
   of all other videos that these users have uploaded      to the Serviporno website, their login
   histories, and any other identifying       information   about    these users in Serviporno's
   possession. While AMA would like this information       as quickly as possible, il additionally
   recognizes that tile holidays are fast approaching.      Therefore, pursuant to the provisions
   ot the settlement agreement.      please provide us wilh this information      no later than 14
   days of the dote of this correspondence.

    l his notice is bein9 provided   in good 10ill) and witt) reasonable  certainty  Ihal AMA's
    copyrights are being infringed. We are outhorized to act on beholt of AMA as its counsel
    and c an attest Ihat 1I1e information     contoined   in this communication     is frue and
    occurote. We oppreciale     your time and o1tenlion to this matter ond look forward 10 YOUI
    response.




                                     Best regords,




                                    Ronold D Greerl
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 65 of 94




                             Exhibit
                                   2
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 66 of 94




1.   http://www.servipomo.comivideos/        corrine-blake- follada-despues-del-masaje/

     User 10:             "anonymous" staff account for uploading videos as part of affiliate
            programs with content producers
     Upload lP:           93.156.108.78
     Email address:       N/A
     Last known address: NI A
     Phone Number:        N/ A

2.    http://www.servipomo.com/videos/sexy-asiatica-gozando-de-una-gran-pollal

      User 10:             "anonymous" staff account for uploading videos as part of affiliate
             programs with content producers
      Upload IP:           93.156.108.78
      Email address:       NIA
      Last known address: NIA
      Phone Number:        NI A

3.    www.servipomo.com!videos/la-perfeccion-existe/

      User 10:                cumines
      Upload IP:              81.45.52.215
      Email address:kalentita25@hotmail.es
      Last known address: NIA
      Phone Number:           N/A

4.    www.serviporno.com/videos/un-      pov-con- una- mi ni -lati na

      User 10:                cumines
      Upload IP:              81.45.52.215
      Email address:kalentita_25@hotmaiJ.es
      Last known address: N/ A
      Phone Number:           N/A
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 67 of 94




                                         BEFORE A.D.R. SERVICES, INC.
                                           CLARK COUNTY, NEVADA


   AMA MULTIMEDIA. LLC
   a Nevada limited liability company.                                             Case No.:

                                                                                    15-4579
        Complainant.

   v.

   BORJAN SOLUTIONS, S.L d/b/a
   SERVIPORNO,
   a Spanish company; and
   BOR.IAN MERA llRRESARAZL
   an individual.

        Respondents.
                                                  ___     J

                            AFFIDA VIT OF BORJAN MERA URREST ARAZt

              L Borjan Mera U, restai azu, affirm and declare as follows:

              1.       M\ name is Borian Mera I lrrestarazu.       I am oyer the age of i):l   I have personal

   Knowledge of the facts stated herein

              ')       I am " manager for Horjan Solutions.       SJ. d/b/a Serviporno.com     ("BSSJ     .)

                       Or, or about August   J 9.20! 3. I entered into that certain Seulement     Agreement

   and Mutuat Release (the "Senlernent         Agreement")     with   sse (iroUp. I I ( d/b/a (whicli !
   understand      now does business a~, J\l\lA Multimedia,       LIf',   "AMA"), BSSI      and Monetia S,I

              4        Piu suant to the terms of the Settlement     Agreement    promptly after entering uno

   the Settlement Agreement         BSSL created the Porn Pros Removal Form that ,.....
                                                                                    ould allow AMA to

   autornancally       remove files from BSSi "s websites,

              '}       In the two years since 8SSL created the Porn Pros Removal fm III. A MA has

   neve, on, t submitted a single l.m L for removal with that specialized           tool.

              (]       Dunng that same lime period      AMA or its agents have -cut BS'5L fewer than a
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 68 of 94




   hehalfof        AMA from the date of the Settlement   Agreement    to the present are attached     hereto as




              7.        With respect to each of the URLs listed on the takedown notices, BSSL promptly

   look down the allegedly       infringing   files upon receipt of the DMCA rakedown       notice.




   I swear under the pains and penalties       of perjury that the foregoing   is true and correct.




   Dated:               August 18, 2015




                                                           2
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 69 of 94




                        Exhibit 1
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 70 of 94




From: dmca <dmca@removeyourcontent.com>
Date: 2015-07-0220:56   GMT +02:00
Subject: Infringement Notice JBGXQ-5725477-4
To: dmca@servilUbes.com




Removeyourcontent , LLC
616 Corporate Way, Suite 2-5065
Valley Cottage, NY 10989
USA
 Ph: 845-217-0833
E-mail: dmca@removeyourcontenl.com
7/2/20152:56:23           PM
Copyright Infringement Notice
re: http://wvvw.pornbursl.xxx                    (IP 104.28.12.104)
Gentlemen:
Please take appropriate action to disable access to the infringing
materials described below, in accordance with the provisions of
the Digital Millennium Copyright Act of 1998 and the Berne Convention.
Should you require further information regarding this matter,
please feel free to contact me.
Regards,
Tony Shultzrnann - Operations Manager
b..uJ:2:LL w \\ ~ .re m Q~ 0'Q!lIi. 0 n IC 11.1 co 111
ELECTRONIC NOTICE OF COPYRIGHT INFRINGEMENT
I, the undersigned. CERTIFY UNDER PENALTY OF PERJURY that Iam an
agent authorized to acr on behalf of the owner of certain
intellectual property rights, said owner being named:
l.l!lR:/h\~\\ .pOl npro~.lolll
©Copyright Copyrighted adult pictures or videos
I have a good faith belief that the items or materials listed
below are not authorized by the above IP Owners, their agents, or
the law and therefore infringe the IF Owner's rights. Please act
expeditiously to remove or disable access to the material or items
claimed to be infringing.
I may be contacted at:

Alleged infringing work or right meets one of the following conditions:
1) Illegally hosted copyrighted dvd cover art or broadcast marketing collateral.
2) Illegal peer to peer resources such as torrent hash tracking sites or complicit activity for file
sharing.
3) Illegal file-sharing services such as cyberlockers,
4) Illegal or unauthorized streaming services of copyrighted dvd or broadcast media.
S) Illegal use of member protected online videos or pictures.
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 71 of 94




- This notice may also serve as notification for the unauthorized   use of IP Owner's trademark in
commerce.
Original Materials & Copyright Holder(s):
AMA / SSCGroup, LLC
M. Sullivan
Custodian of Records
16673 Roscoe Blvd
North Hills, CA 91343

Location of Original Works:
http://www.pornpros.com
URL(s) of Infringed Works or Right:
http://www.pornburst.xxx/videos/watching-porn-with-her-boy1

Hosting providers and websites residing outside the United States
may refer to wipo.int for international copyright information,
The information transmitted by the preceding e-mail is intended only for the
addressee and may contain confidential andlor privileged material. Any
interception, review, retransmission, dissemination, or other use of, or
taking of any action upon this information by persons or entities other than
the intended recipient is prohibited by law and may subject them to criminal
or civil liability. If you received this communication in error. please
contact us immediately by email tOlllfo0)reIl1O\eyomcolltcnt.com
or at Q_45-2l'l-Q8J j . and delete the communication from any computer
or network system.
 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 72 of 94




Prom: dmca <dmca@removeyourcontenLcom>
Date: 2015-05-01 23:30 GMT +02:00
Subject: Infringement Notice KDZKG-0869318-9
To: dmca@servitubes.com




Removeyourcontent , LLC
616 Corporate Way, Suite 2-5065
Valley Cottage, NY 10989
USA
Ph: 845-217-0833
E-mail: dmca@removeyourcontent.com
51] 120]S 5:30:26 PM
Copyright Infringement Notice
re: http://www.pornburst.xxx         (IP 104.28.12.104 )
Gentlemen:
Please take appropriate action to disable access to the infringing
materials described below. in accordance with the provisions of
the Digital Millennium Copyright Act of 1998 and the Berne Convention.
Should you require further information regarding this matter.
please feel free to contact me.
Regards,
Tony Shultzmann - Operations Manager
http://ww\\ .r('rn()\ c;yourcontent.cnm
ELECTRONIC NOTICE OF COPYRIGHT INFRINGEMENT
I, the undersigned, CERTIFY UNDER PENALTY OF PERJURY that I am an
agent authorized to act on behalf of the owner of certain
intellectual property rights, said owner being named:
hllp:lh \\'\~_jJor!l.PJu~.u21l1
©Copyright Copyrighted adult pictures or videos
] have a good faith belief that the items or materials listed
below are not authorized by the above IP Owners, their agents. or
the law and therefore infringe the IP Owner's rights. Please act
expeditiously to remove or disable access to the material or items
claimed to be infringing.
I may be contacted at:

Alleged infringing work or right meets one of the following conditions:
 1) Illegally hosted copyrighted dvd cover art or broadcast marketing collateral.
2) Illegal peer to peer resources such as torrent hash tracking sites or complicit activity for file
sharing.
3) Illegal file-sharing services such as cyberlockers.
-1-) Ulegal or unauthorized streaming sen ices of copyrighted dvd or broadcast media.
S) Illegal use of member protected online videos or pictures.
 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 73 of 94




- This notice may also serve as notification   for the unauthorized   use of lP Owner's trademark in
commerce.
Original Materials & Copyright Holder(s):
AMA / SSCGroup, LLC
M. Sullivan
Custodian of Records
16673 Roscoe Blvd
North Hills, CA 91343

Location of Original Works:
http://www.pompros.com
URL(s) of Infringed Works or Right:
htlp://www.pornburst.xxx/videos/the-woman-of-my-dreams/

Hosting providers and websites residing outside the United States
may refer to wipo.int for international copyright information,
The information transmitted by the preceding e-mail is intended only for the
addressee and may contain confidential andlor privileged material. Any
interception, review. retransmission. dissemination, or other use of, or
taking of any action upon this information by persons or entities other than
the intended recipient is prohibited by law and may subject them to criminal
or civil liability. If you received this communication in error. please
contact us immediately by email to !_!1jo0 n::.!_TI(2.~}ourcontS'nD.·l2D1
or at 84.')·2.1 I-083~ . and delete the communication from any computer
or network system.
 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 74 of 94




From: Anna FYC <anna@fuckyoucash.com>
Date: 2014-03-17 21:41 GMT+Ol:OO
Subject: Copyright Infringement
To: DMCA@servitubeS.com


SSC Group, LLC
6345 Balboa Blvd, Ste ]65
Encino, CA 9]316
USA
E-mail: anna@fuckyoucash.com

Copyright Infringement Notice

re:   http://w \\1\\ . \ ideogratis.l\_

Gentlemen:


Please take appropriate action to disable access to the infringing
materials described below. in accordance with the provisions of
the Digital Millennium Copyright Act of] 998 and the Berne Convention.
Should you require further information regarding this matter,
please feel free to contact me.
Regards.
Anna Gallant. DMCA Manager
b!!L)L"~\\JH.!.[Ilj)j()\     LUm



ELECTRON rc NOTICE OF COPYRIGHT              INFRINGEMENT

1. the undersigned. CERTIFY UNDER PENALTY OF PERJURY that I am an
agent authorized to act on behalf of the owner of certain
intellectual properly rights. said owner being named:
hl!_p:llw\\ \\ .punllll\)~.l'O!.l1
©Copyright Pornpros.com

I have a good faith belief that the items or materials listed
below are not authorized by the above IP Owners, their agents. or
the law and therefore infringe the IP Owner's rights. Please act
expeditiously to remove or disable access to the material or items
claimed to be infringing.
I may be contacted at:

Printed Name: Anna Gallant
Title: DMCA Manager
 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 75 of 94




Company: SSC Group, LLC
Street Address: 6345 Balboa Blvd, Ste 165
City and State: Encino, CA
Country: USA
Postal code: 91316
Email (correspondence):anna@fuckyoucash.com

Truthfully,
lSI: Anna Gallant

Alleged infringing work or right meets one of the following conditions:
1) lllegally hosted copyrighted dvd cover art or broadcast marketing collateral.
2) Illegal peer to peer resources such as torrent hash tracking sites or complicit activity for file
sharing.
3) Illegal file-sharing services such as cyberlockers.
4) Illegal or unauthorized streaming services of copyrighted dvd or broadcast media.
5) Illegal use of member protected online videos or pictures.
- This notice may also serve as notification for the unauthorized use of IP Owner's trademark in
commerce.

Original Materials & Copyright Holder(s):
sse Group, LLC
M. Sullivan
Custodian of Records
16673 Roscoe Blvd
North Hills, CA 91343

Location of Original Works:
hl!p:II\\'~~ !2()lJl.P!0~.~Qm

URL(s) of lnfringed Works or Right:

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http://www.videosgratis.tv/ver/trio-con-Ias-Reluquera~/
http://www.videosgratis.lv/ver/la-     belleza-natural-de-kei~ha/
http://www.videosgratis.tv/verlse-le-acumula-el-trabajo/
http://www.videosgratis.tv/ver/cinco-lujuriosas-escenas/
http://www.videosgratis.tv/ver/sex      o-gl am uroso-con-Ia-mi If- iuIia-an 11/
http://www.videosgratis.tv/ver/a     va-ad dams- madura-pero-muy- cal ien tel
http://www.videosgratis.tv/ver/ava-addams-bronceada-              y- follada!
http://www.videosgratis.tv/verlsexo-elegante-con-dani            -jensenl
http://www.videosgratis.tv/ver/dani-       jensen-esclava-anal/
http://www.videosgratis.tv/ver/pel      irrojas-jugando-al-twister/
http://www.videosgratis.tv/ver/kennedy-lei          gh-pone-el-postrel
http://www.videosgratis.tv/ver/rachel-starr-        follada-en-el-bill ar/
http://www.videosgratis.tv/ver/parai       so- tropi cal-con- whitney- y-l iIyl
http://www.video~ratis.tv/ver/champagne-            masaje- y-sex 0/
hlip:/ /www.videosgratis.tv/ver/caliente-anal-con-adriana-chechik/


Thank you

Anna
 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 77 of 94




From: Nate Glass <natc@takedownpiracy.colll>
Date: 2015-02-19 2:43 GMT +0 I :00
Subject: DMCA Notice for Copyright Holder;            Porn Pros
To: "Freernovies.tv" <DMCA@servitubes.com>


My name is Nate Glass, and I am a person authorized to act on behalf of
the owner of an exclusive right that is being infringed.

Authorized DMCA Agent:
Nate Glass
8045 Retriever Ave.
Las Vegas, NV
89147
(818) 730-4666
llate@takedowllP_iraev.com

Copyright Holder:
Porn Pros
l6673 Roscoe Blvd.
North Hills. CA
91343

The following works are the copyrighted property of Porn Pros:
lu!p:!/vv\::_\\ j)()rnblli-"'!.~\_~/\ i9_fS)~hl-f()lmal thr<;C:_~l)!ll(/



A representative   list of these works is available at ]1l1p://\\ \\~\'.n_(!rnprl)s.ll)m

Under penalty of perjury:
J have a good-faith belief that use of the material in the manner
complained of is not authorized by the copyright owner. its agent or the
law.

The information in the notification is accurate.

] am authorized to act
on behalf of the owner of an exclusive right that is allegedly infringed.

This notice is also to inform the allegedly infringing service provider
that the copyright holder listed above has not licensed, to the
allegedly infringing website. any works to be used in the manner
depicted above. Furthermore. copyright holder strongly encourages
the operators of the allegedly infringing site to not allow the
continued use of copyright holders works without the expressed
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written consent of the copyright holder. This includes, but is not
limited to, filtering of content as well as prohibiting the use of
copyright holders content in an infringing manner.

As per DMCA law section 512(i) to be eligible for Safe Harbor a
service provider must meet certain requirements. One of these
requirements is:
   "(service provider) ...has adopted and reasonably implemented,
   and informs subscribers of the service of, a policy for the
   termination of subscribers of the service who are repeat infringers"

For this reason, copyright holder strongly encourages the recipient
of this notice to adopt and implement a repeat infringer policy.

In order to make the content removal process easier in the future,
Takedown Piracy suggests that you add the copyright holder listed
in this notice to a list of Prohibited or Banned Content on your site
and filter andlor remove any content owned by this copyright owner.

Please note that all DMCA notices sent by Takedown Piracy are checked
to ensure compliance by the allegedly infringing website.
Notices that have not been satisfied will be escalated to.
including but not limited to, webhost and upstream provider.
In the event of non-compliance, Takedown Piracy can and will
confer with the clients legal representatives and/or specialists in
copyright infringement law.

All Rights Reserved.




Nate Glass
Authorized DMCA Agent
_l:.mail: nale<g>takrdo\\llJ)Ir~ll_).l.pm
 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 79 of 94




From: Nate Glass <nate@takedownpiracy.com>
Date: 2015-01-1818:31 GMT+O]:OO
Subject: DMCA Notice for Copyright Holder: Porn Pros
To: DMCA@servitubes.com


My name is Nate Glass, and I am a person authorized to act on behalf of
the owner of an exclusive right that is being infringed.

Authorized DMCA Agent:
Nate Glass
8045 Retriever Ave.
Las Vegas, NV
89147
(818) 730-4666
nate (@ lakedov~/.!l.pi
                     rae y .com

Copyright Holder:
Porn Pros
] 6673 Roscoe Blvd.
North Hills. CA
91343

The following works are the copyrighted property of Porn Pros:
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A representative     li st of these works is avai lable at llur:l/\\     \\ \\ .Willu>!~)~,.L·(
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Under penalty of perjury:
Ihave a good-faith belief that use of the material in the manner
complained of is not authorized by the copyright owner, its agent or the
law.

The information in the notification is accurate.

1 am authorized to act
on behalf of the owner of an exclusive right that is allegedly infringed.

This notice is also to inform the allegedly infringing service provider
that the copyright holder listed above has not licensed. to the
allegedly infringing website. any works to be used in the manner
depicted above. Furthermore, copyright holder strongly encourages
    Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 80 of 94




   the operators of the allegedly infringing site to not allow the
   continued use of copyright holders works without the expressed
   written consent of the copyright holder. This includes, but is not
   limited to, filtering of content as well as prohibiting the use of
   copyright holders content in an infringing manner.

   As per DMCA law section 512(i) to be eligible for Safe Harbor a
   service provider must meet certain requirements. One of these
   requirements is:
      "(service provider) ...has adopted and reasonably implemented,
      and informs subscribers of the service of, a policy for the
      termination of subscribers of the service who are repeat infringers"

   For this reason, copyright holder strongly encourages the recipient
   of this notice to adopt and implement a repeat infringer policy.

   In order to make the content removal process easier in the future,
   Takedown Piracy suggests that you add the copyright holder listed
   in this notice to a list of Prohibited or Banned Content on your site
   and filter and/or remove any content owned by this copyright owner.

   Please note that all DMCA notices sent by Takedown Piracy are checked
   to ensure compliance by the allegedly infringing website.
   Notices that have not been satisfied will be escalated to.
   including but not limited to. webhost and upstream provider.
   In the event of non-compliance. Takedown Piracy can and will
   confer with the clients legal representatives and/or specialists in
   copyright infringement law.

   All Rights Reserved.



  Nate Glass
- Authorized DMCA Agent
  J:mail.;ll<!!_e0 ta~t'lIl)\~_!lPllat \ .com
 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 81 of 94




From: Nate Glass <nate@takedownpiracy.com>
Date: 2014-10-08 3:40 GMT+02:00
Subject: DMCA Notice for Copyright Holder:                 Porn Pros
To: DMCA@servitubes.com


My name is Nate Glass, and I am a person authorized to act on behalf of
the owner of an exclusive right that is being infringed.

Authorized DMCA Agent:
Nate Glass
8045 Retriever Ave.
Las Vegas, NV
89147
(818) 730-4b66
nate ([!, takcdmvnpl racy .COll i

Copyright Holder:
Porn Pros
16673 Roscoe Blvd.
North Hills. CA
91343

The following works are the copyrighted property of Porn Pros'
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A representative     lIst of these works is available at bWJ)i\\ ~\.~-"j)yll.!pr~~,.(
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Under penalty of perjury:
Ihave a good-faith belief that use of the material in the manner
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law.

The information ill the notification        is accurate

1 am authorized to act
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This notice is also to inform the allegedly infringing service provider
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 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 82 of 94




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All Rights Reserved.



Nate Glass
Authorized DMCA Agent
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 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 83 of 94




From: Nate Glass <nate@takedownpiracy.com>
Date: 2015-02-1621:09 GMT+01:00
Subject: DMCA Notice for Copyright Holder:                  Porn Pros
To: "Freemovies.tv" <DMCA@servitubes.com>


My name is Nate Glass, and I am a person authorized to act on behalf of
the owner of an exclusive right that is being infringed.

Authorized DMCA Agent:
Nate Glass
8045 Retriever Ave.
Las Vegas, NV
89147
(818) 730-4666
nate@ti:lkedowIlRiracy.com

Copyright Holder:
Porn Pros
16673 Roscoe Blvd.
North Hills. CA
91343

The following works are the copyrighted property of Porn Pros:
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A representative     list of these works is available at !J~lp./h:.\\ \\ ,PW!.IPI O!',.('UIll

Under penalty of perjury:
Ihave a good-faith belief that use of the material in the manner
complained of is not authorized by the copyright owner, its agent or the
law.

The information in the notification is accurate.

I am authorized to act
on behalf of the owner of an exclusive right that is allegedly infringed.

This notice is also to inform the allegedly infringing service provider
that the copyright holder listed above has not licensed, to the
allegedly infringing website, any works to be used in the manner
 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 84 of 94




depicted above. Furthermore, copyright holder strongly encourages
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copyright infringement law.

All Rights Reserved.


Nate Glass
Authorized DMCA Agent -
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                               C£)J1)
 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 85 of 94




From: Nate Glass <nate@takedownpiracy.com>
Date: 2014-11-03 21:47 GMT+01 :00
Subject: DMCA Notice for Copyright Holder:                         Porn Pros
To: DMCA@servitubes.colll


My name is Nate Glass, and I am a person authorized to act on behalf of
the owner of an exclusive right that is being infringed.

Authorized DMCA Agent:
Nate Glass
8045 Retriever Ave.
Las Vegas. NV
89147
(818) 730-4666
nate@takedownpiraL y .com

Copyright Holder:
Porn Pros
16673 Roscoe Blvd.
North Hills. CA
91343

The following works are the copyrighted property of Porn Pros:
lE.1Jrij\\~_)_\.-,-rrl'elllo\!.t'~.l \ /\ i_0c()!;!l_L x j \-_<:tdillm- i!->-_£.l'i!l:Dl.~~c~~e/




A representative        list of these works is available at http'!/\\ \\ ~\.,QIIJ_1l1l)l)~,_l'()lll

Under penalty of perjury:
r have a good-faith belief that use of the material in the manner
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law.

The information in the notification is accurate,

1 am authorized to act
on behalf of the owner of an exclusive right that is allegedly infringed.

This notice is also to inform the allegedly infringing service provider
that the copyright holder listed above has not licensed. to the
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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 86 of 94




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copyright infringement law.

All Rights Reserved.


Nate Glass
Authorized DMCA Agent
EmillJ~llatL(~hakedo\'\ llpira\] ._£om
 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 87 of 94




Prom: Nate Glass <nate@takedownpiracy.com>
Date: 2014-10-090:44 GMT+02:00
Subject: DMCA Notice for Copyright Holder:                         Porn Pros
To: DMCA@servitubes.com



My name is Nate Glass, and Iam a person authorized to act on behalf of
the owner of an exclusive right that is being infringed.

Authorized DMCA Agent:
Nate Glass
8045 Retriever Ave.
Las Vegas, NV
89147
is 18) 730-4666
nate@takedownpiraev.coIE

Copyright Holder:
Porn Pros
16673 Roscoe Blvd.
North Hills. CA
91343

The following works are the copyrighted property of Porn Pros:
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A representative        list of these works is available at DI_!.l~:/!\\~\~JI()l!WJ<)~.l_l~1l1

Under penalty of perjury:
T have a good-faith belief that use of the material in the manner
complained of is not authorized by the copyright owner. its agent or the
law.

The information in the notification is accurate.

] am authorized to act
on behalf of the owner of an exclusive right that is allegedly infringed.

This notice is also to inform the allegedly infringing service provider
that the copyright holder listed ahove has not licensed. to the
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 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 88 of 94




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confer with the clients legal representatives and/or specialists in
copyright infringementlaw .

.All Rights Reserved.



Nate Glass
Authorized DMCA Agent
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Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 89 of 94




From: Nate Glass <nate@takedownpiracy.com>
Date: 2014-10-064:0]  GMT+02:00
Subject: DMCA Notice for Copyright Holder: Porn Pros
To: DMCA@servitubes.com


My name is Nate Glass, and I am a person authorized to act on behalf of
the owner of an exclusive right that is being infringed.

Authorized DMCA Agent:
Nate Glass
8045 Retriever Ave.
Las Vegas, NV
89147
(818) 730-4666
nate@:lakedownpiracy.com

Copyright Holder:
Porn Pros
16673 Roscoe Blvd.
North Hills. CA
91343

The following works are the copyrighted property of Porn Pros:
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A representative     list of these works i~available at IJll!).i/\\\~ \\ .1'UI nliIl_,~,.lOill

Under penalty of perjury:
J have a good-faith belief that use of the material in the manner
complained of is not authorized by the copyright owner, its agent or the
law.

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I am authorized to act
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allegedly infringing website. an) \\ orb to be used in the manner
depicted above. Furthermore. copyright holder strongly encourages
 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 90 of 94




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copyright infringement law.

All Rights Reserved.



Nate Glas~
Authorized DMCA Agent
!_;'maJ Lnillt (fi t(1..keili)~!Wi ral} .com
Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 91 of 94




From: Nate Glass <nate@takedownpiracy.com>
Date: 2014-10-01 23:32 GMT+02;00
Subject: DMCA Notice for Copyright Holder:                   Porn Pros
To: DMCA@servitubes.com


My name is Nate Glass, and I am a person authorized to act on behalf of
the owner of an exclusive right that is being infringed.

Authorized DMCA Agent:
Nate Glass
8045 Retriever Ave.
Las Vegas, NV
89147
(818) 730-4666
nate@takedownpirac\.com

Copyright Holder:
Porn Pros
16673 Roscoe Blvd.
North Hills, C A
91343

The following works are the copyrighted              property of Porn Pros:
ll.!'!p_j/\\~ \\ .f rcemo~'le~.t \ /\ 1.9.i'y/cuck·juicc- fOl :Jnulnl
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A representative      list of these works is available at l!llj):.!/~    \\ \~ pOJ!l.l)J~;s--"'I)DI


Under penalty of perjury:
I have a good-faith belief that use of the material in the manner
complained of is not authorized by the copyright owner, its agent or the
law.

The information in the notification is accurate.

I am authorized to act
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 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 92 of 94




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copyright infringement Jaw.

All Rights Reserved.


Nate Glass
Authorized DMCA Agent
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 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 93 of 94




From: Nate Glass <nate@takedownpiracy.com>
Date: 2014-09-30 12:40 GMT +02:00
Subject: DMCA Notice for Copyright                    Holder:      Porn Pros
To: DMCA@servitubes.com



My name is Nate Glass, and I am a person authorized to act on behalf of
the owner of an exclusive right that is being infringed.

Authorized  DMCA Agent:
Nate Glass
8045 Retriever Ave.
Las Vegas, NV
89147
(818) 730-4666
nate@takedowlljJilacy,coll1

Copyright Holder:
Porn Pros
16673 Roscoe Blvd.
North Hills. CA
91343

The following works are the copyrighted                      property of Porn Pros:
illlVi 1\\ \~\\.[r(cScnll>'Ijcs._!~/\ ldeo/al )s~a- fUll he - a·k-~L 2!.dla· a.UD-ca Slll!g/
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A representative        list of these works is available           atltllj>J/\\   \\ \\:p~I.!.1W~.!-" U!.!_II

Under penalty of perjury:
I have a good-faith belief that use of the material                  in the manner
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law.

The information         in the notification       is accurate.

I am authorized  to act
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 Case 2:15-cv-01673-JCM-GWF Document 10-8 Filed 01/06/16 Page 94 of 94




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copyright infringement law.

All Rights Reserved.


Nate Glass
Authorized DMCA Agent
1- mail: n ,"1e (1_( t<l k ukJ\\J.!j2!!_ill:ll 0 n,
